       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 1 of 25




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,

Defendants.

            COALITION PLAINTIFFS’ BRIEF IN SUPPORT OF
             MOTION FOR PRELIMINARY INJUNCTION ON
                   PAPER POLLBOOK BACKUPS

      Coalition Plaintiffs submit this Brief in Support of their Motion for

Preliminary Injunction Relating to Paper Pollbook Backups.

                       Preliminary Procedural Statement

       The relief sought in this Motion is substantially the same as the relief

relating to paper pollbook backups sought in the Coalition Plaintiffs’ October 23,

2019 Motion for Preliminary Injunction (Doc. 640), which this Court dismissed

without prejudice on August 7, 2020 (Doc. 768), and is the same relief that is

addressed in Coalition Plaintiffs’ August 2, 2020 Motion of Coalition Plaintiffs to

File Notice of Filing Evidence and Request for Immediate Injunctive Relief on




                                         1
        Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 2 of 25




Paper Pollbook Backups (Doc. 756).1 The Coalition Plaintiffs are seeking this

relief in a separate motion because (a) it concerns a narrow issue that is unrelated

to the ballot marking devices, (b) the merits of this Motion have been thoroughly

briefed by both parties in prior filings,2 and (c) the relief is vitally necessary for the

upcoming September 29, 2020 special election and the November 2020 general

election and related runoffs and may easily be implemented without any Purcell

issues whatsoever.3

                                   Introduction and Summary

       The continuing failure of the Defendants to have a workable paper backup to

the electronic pollbooks contributed significantly to massive failures of the June 9,

2020 statewide Primary. In its July 30, 2020 Order, the Court stated:

       It is unclear what actions, if any, the State has undertaken to address these
       deficiencies in the electronic pollbooks and MVP voter registration
       interface or new versions of such in advance of June 2020 elections or the
       elections to be held in August and November 2020. While the Court at this
       juncture has only preliminary evidence in the record before it that addresses
       these claims in their current form, the Court notes that alleged significant

1
  Coalition Plaintiffs incorporate by reference the arguments and evidence previously submitted,
including Doc. 640-1, 680, 680-1, 755 and 756.
2
  E.g., Coalition Plaintiffs’ Brief in Support of Motion for Preliminary Injunction (Doc. 640-1 at
32-33), State Defendants’ Response (Doc. 658 at 54), and Coalition Plaintiffs’ Reply (Doc. 680
at 29-32); see also Coalition Plaintiffs’ Notice of Filing (Docs. 765 and 766), State Defendants
Response to Notice of Filing (Docs. 757), and Coalition Plaintiffs’ Reply (Doc. 758).
3
 Parts A and B of this Brief are very similar to Parts A and B of Coalition Plaintiffs’ August 2,
2020 Notice of Filing Evidence (Doc. 756).




                                                 2
          Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 3 of 25




          problems relating to the express pollbooks were reported by the media
          during the June 2020 election cycle.

(Doc. 751 at 23). Though complex issues relating to the security and reliability of

the voter registration and electronic pollbook operations will remain, a simple step

that can be taken now to reduce the most debilitating impact of a repeated system

failure is to provide each precinct with an updated paper pollbook that can be used

when the electronics malfunction. This simple solution will keep people voting on

emergency paper ballots (in accordance with State Election Board regulations4)

when the electronic pollbooks malfunction, whether because of technical problems,

poor pollworker training, equipment shortages, lines exceeding 30 minutes, or

malicious attack. Without this relief, another “meltdown” is almost inevitable, but

this time with much more serious consequences: turnout for the upcoming

elections will be far higher than the record turnout in the June 9 primaries,

managing the lines and the voting process generally will remain extremely

challenging during this ongoing pandemic, and few of the technical or

administrative failures that caused the June 9 meltdown have been addressed.

          In this Brief, Coalition Plaintiffs will in Part A summarize the procedural

history of Coalition Plaintiffs’ claims relating to paper pollbook backups and the

mountains of evidence already on file demonstrating the longstanding serious


4
    Rule 1-183-12-.11.2(c)-(d).



                                              3
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 4 of 25




deficiencies in Georgia’s registration and pollbook systems. Coalition Plaintiffs

will also summarize the extensive and recent efforts that the Coalition and its

counsel have undertaken to resolve this issue without court intervention. In Part B,

Coalition Plaintiffs will summarize the evidence from the June 9 election (pre-filed

at Doc. 755) showing that the extensive voting delays and chaos were a direct

result of the ongoing failure of the State Defendants to provide the precincts with

useful paper pollbook backups. Part C address evidence from the August 11, 2020

runoffs demonstrating that the underlying deficiencies have not been remedied.

Part D addresses new evidence showing the stunning vulnerability of the electronic

pollbooks. In Part E, Coalition Plaintiffs will explain the relief sought, and Part F

responds to arguments raised in the State Defendants’ August 2, 2020 Response

(Doc. 757) to Coalition’s Plaintiffs’ August 2 Notice of Filing (Doc. 756).

       A.     Procedural and Factual Background

       In their June 21, 2019 Motion for Preliminary Injunction, the Coalition

Plaintiffs moved for injunctive relief requiring the Secretary to direct the use of “an

updated paper back-up of the pollbook in the polling places for adjudicating voter

eligibility and precinct assignment problems.” (Doc. 419 at 4).5 In its August 15,

2019 Order granting in part Plaintiffs’ Motion, this Court found substantial



5
 This requested relief was renewed in the Coalition Plaintiffs’ October 23, 2019 Motion. (Doc.
640-2 at 4-5).



                                               4
        Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 5 of 25




evidence of voters being disenfranchised because of electronic pollbook problems.6

Based on these findings, the Court granted injunctive relief, referencing the

recommendation of the National Academies of Sciences, that “all jurisdictions

using electronic pollbooks ‘should have backup plans in place to provide access

to current voter registration lists in the event of any disruption.’” (Doc. 579 at 148

n. 101) (emphasis added). The Court ordered: “The State Defendants should

require all County Election Offices to furnish each precinct location with at least

one printout of the voter registration list for that precinct.” (Doc. 579 at 150). The

Court concluded:

       Finally, the Court views the significant voter registration database and
       related ExpressPoll deficiencies and vulnerabilities demonstrated in
       this case as a major concern both relative to burdening or depriving
       voters’ ability to actually cast ballots. The Court therefore requires
       the State Defendants to develop procedures and take other actions to
       address the significant deficiencies in the voter registration database
       and the implementation of the ExpressPoll system.

(Doc. 579 at 152-153).

       On September 12, 2019, the Coalition Plaintiffs filed a Rule 59(e) motion

requesting, among other relief, that the Court modify its directive to require the use

of an updated paper pollbook backup at each precinct, rather than the voter


6
  “Forty-six individual voters described issues with the electronic pollbook, including voters not
being listed as registered, wrong addresses listed for the voters, incorrect polling places, and
listing voters have already voted.” (Doc. 579 at 98). The Court also summarized the evidence
submitted by Coalition Plaintiffs relating to problems in the preceding November 6, 2018 general
election. (Doc. 579 at 106 - 111, citing Doc. 258-1 at 62 et seq.)



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       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 6 of 25




registration list (Doc. 605 at 5). The paper print out of the voter registration list, as

currently provided in the polling places, is not updated to reflect all early or

absentee mail ballot voting and therefore cannot be used as a backup to

malfunctioning electronic pollbooks to issue regular or emergency ballots. As the

Coalition Plaintiffs explained, the clarification was necessary to assure “that the

paper backup would be current (after updating for early voting).” (Doc. 621 at 17)

(emphasis in original). In its October 23, 2019, Order Granting in Part and

Denying In Part the Rule 59(e) Motion, the Court stated:

      The Court recognizes the Coalition Plaintiffs’ motion was timely
      filed, however, a number of pragmatic considerations make the Court
      hesitant to modify this provision of the Order now that early voting
      has begun for the November 2019 election cycle. The Court
      potentially willing to consider this request for subsequent election
      cycles but only after hearing more concretely from the State regarding
      pragmatic implementation issues at a short conference or hearing.
      Therefore, the Coalition Plaintiffs’ request that the Court modify
      directive 2 on page 150 of the preliminary injunction Order to require
      the use of a paper pollbook backup is DENIED at this time.


(Doc. 637 at 2-3). The Court further reiterated its “expectation that the parties

would use good judgment and their knowledge of the Court’s Order of August 15th

as a whole in proceeding.” (Doc. 637 at 2).

      In their October 23, 2019 Motion for Preliminary Injunction that seeks

injunctive relief relating to the BMDs and other components of the State’s new

Dominion Election System, the Coalition Plaintiffs moved again for an order



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        Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 7 of 25




directing the Secretary to require paper pollbook backups. (Doc. 640 at 32).

Coalition Plaintiffs explained: “There is no reason to believe that the systemic

problems with epollbooks will disappear with the transition to a new electronic

pollbook component system. If anything, the rapid transition to a new epollbook

system and the integration challenges will make these problems more severe.”

(Doc. 640 at 34). In response, the State Defendants argued that it already provides

a paper copy of the registered voters. (Doc. 658 at 54). As Coalition Plaintiffs

explained in their Reply, “what is needed is not the ‘paper copy of the registered

voters for each precinct,’ as the State recites, but the updated copy of the

pollbook.” (Doc. 680 at 30).7

       Meanwhile, the quality and reliability of the new “KnowInk” Pollpads were

tested in several counties’ municipal and county elections in November 2019, the

December runoffs, and the first quarter 2020 special elections in State House

District 171 and Senate District 13. Multiple PollPad problems were observed by

Coalition’s members in numerous different polling locations in each of the




7
 The briefing on the paper pollbook backup also contains discussion of State Election Board
regulations. (See Doc. 658 at 54; Doc. 680 at 30). As discussed below, new regulations were
promulgated in February 2020. The new regulations, though incomplete and not being followed
by the Defendants, are not inconsistent with the relief that is sought by Coalition Plaintiffs. See
infra Part E.



                                                 7
        Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 8 of 25




elections.8 Observer Elizabeth Throop spent 34 hours observing early, Election

Day and run-off voting in 11 polling places in Paulding, Carroll, and Lowndes

counites in the November pilot. (Doc. 680-1 at 83-91). Ms. Throop made the

following prescient observations:

       Based on my observations on the polling places it is my strong
       opinion that the risks of pollbook failure, malfunction, “bugs,” and
       insufficient poll worker training mandate the need for a back-up
       default paper pollbook that can be used as the official reference if the
       Poll Pad information is not available. . . . This over-reliance on
       electronic records seems to create an unacceptable risk for 2020 high
       turnout elections.

(Doc. 680-1 at 83-89).9 The Secretary’s own Executive Summary of the Pilots

disclosed numerous issues with the PollPads and the failure to timely open the

polls. (Doc. 680-1 at 101)

       The issue of the paper pollbook backup arose again in the December 6, 2019

status conference. Coalition Plaintiffs’ counsel referenced the PollPad problems

encountered in the November pilots, noting that requiring a paper pollbook backup

would be an effective safeguard that would not be burdensome to Defendants.



8
 See also GEORGIA RECORDER, link at Doc. 680-1 at 150 (“Voters in five counties experienced
problems with new check-in devices, called “poll pads,” caused by a programming error that
prevented them from using electronic ballot-marking devices.”).
9
 See also Declaration of R. Martin, Doc. 680-1 at 76 (Reporting on the November 2019 pilot
testing: “It was clear to me that despite three weeks of early voting, PollPad pollbook procedures
were still buggy on Election Day, underscoring my fears of the impracticability of statement
system conversion by the beginning of Presidential Primary Early Voting on March 2, 2020.”).



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       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 9 of 25




(Doc. 679 at 69-70). The Court then asked counsel for Defendants: “why wouldn’t

the state just do that?” (Doc. 679 at 71). In response, counsel for the State

Defendants stated: “the state already provides a paper pollbook backup in each

precinct,” but then clarified that it was the voter registration list that the state

provided, something that counsel may have believed (incorrectly) was the same

thing as a current paper pollbook backup. (Id. at 72). At this point, the Court

stated: “I encourage you-all to talk about it. . . . Because there is a lot of frustration

obviously in the check-in process. And it could only benefit the State in my

mind.” (Id. at 74).

       From the December 6, 2019 Status Conference to the weeks immediately

prior to the August 2, 2020 filing, the Coalition Plaintiffs made a number of efforts

to resolve this issue outside the litigation with repeated petitions to the State

Election Board and overtures to opposing counsel, all unsuccessful. (See Doc. 756

at 13-14 (detailing efforts)).

       B.     Electronic Pollpad Problems Cause Extreme Delays in June 9,
              2020 Election

       As the Court noted in its July 30, 2020 Order, “alleged significant problems

relating to the express pollbooks were reported by the media during the June 2020

election cycle.” (Doc. 571 at 23). It cannot be overstated that the evidence

establishes that the primary cause of the “meltdown” was the failure of the

Defendants to simply print and use inexpensive paper pollbook backups and to


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      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 10 of 25




issue emergency paper ballots to eligible voters. The Defendants’ recklessness in

refusing to print current paper pollbooks is indefensible, particularly given that this

Court ordered the State Defendants “to develop procedures and take other actions

to address the significant deficiencies in the voter registration database and the

implementation of the ExpressPoll system.” (Doc. 579 at 152-153).

      The chaos caused by the PollPads is shown in the official election records

(Ballot Recap Sheets) from the Election Day polling places themselves. Standard

ballot accounting of course calls for the number of voters checking in to reconcile

to the number of ballots cast, accounting for spoiled ballots or other limited

exceptions. But as a review of the public records show, material differences exist

between the number of ballots cast and the number of voters recorded in the

PollPads as checking in at many Fulton County precincts’ Ballot Recap Sheets,

(See Marks Declaration, Ex. 1, ¶ 23-24).

      Coalition Plaintiffs have filed eye-witness accounts of the significant

problems caused by the failure of the Defendants to have any paper backup for the

electronic pollbooks, (Doc. 755), which can be counted on to fail. For example, in

a report to the Cobb County Board of Registration and Elections on June 19, 2020,

Cobb County Election Director Janine Eveler gave a damning report of the June 9

polling place problems, including numerous problems with the KnowInk electronic

PollPads. (Doc. 755 at 36-40). Director Eveler told Board Members of the



                                           10
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 11 of 25




extensive difficulties her department had through the weekend prior to Election

Day attempting to upload the information into the PollPads. (Id. at 38 line 31).

She reported the complexity of setting up polling places the morning of Election

Day because of the difficulties in securing the equipment, with the goal of getting

“at least one voting unit working by 7am.” (Id. at 39 line 12). Many polls were

still being set up after the polls opened, causing longer lines to form. (Id., line 14-

15). “On election day, many polls reported that their poll pads were not syncing,

or that they could not encode cards.” (Id., line 25-26). “We were given no

instructions on how to resolve these syncing issues.” (Id., line 26-27).

      Malfunctioning electronic pollbooks were the bottlenecks creating the long

lines throughout the metro-Atlanta area. Coalition Plaintiffs have filed eye-witness

accounts of voters having to wait in line for hours during the pandemic because

electronic pollbooks were not working. E.g. Doc. 755 at 11-12 (at Central Park

Recreation, Fulton County, a four hour wait); id. at 74-74 (at Antioch A.M.E.,

DeKalb County, three and one-half hour wait before first voter could vote); id. at

14 (at Park Tavern, Fulton County, a three hour wait); id. at 15 (at Miller Grove,

DeKalb County, over two and one-half hour wait); id. at 148 (at Sope Creek, Cobb

County, over a two hour wait)10; id. at 128 (Cross Keys, DeKalb County, over two


10
  A voter at Sope Creek recounted: “Water and a chair were requested for a
gentleman who was ‘collapsing from overheating.’ When I returned to the parking



                                           11
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 12 of 25




hour wait, with 200 people crammed into hallways with no social distancing

procedures); id. at 154 (Legacy Church, Cobb County, two hour wait); id. at 125

(at Water Department, Gwinnett County, a two hour wait); id. at 124 (at

Dunwoody Library, DeKalb County, no voting until 8:15).

      When the Pollpads malfunctioned, “voting was almost to a complete

standstill” because pollworkers were forced to use provisional ballots (Doc. 755 at

12; see also id. at 74-75, 127, 128, 154). Crucially, there is no doubt that the

failure to have a paper backup to the malfunctioning electronic pollbooks was the

cause of these long lines: as voters waited in line to check-in, no one was voting on

the BMDs. (Doc. 755 at 12; see also id. at 15, 101, 127). A Cobb County voter

states: “This was the worst voting experience I have ever had, as it was a total

fiasco.” (Id. at 155).

      Though the State Defendants have blamed Defendant Fulton County for the

meltdown, the long lines were experienced throughout Metro Atlanta and were

caused by the State Defendants’ failure to provide the counties with a useable

paper backup for the malfunctioning electronic pollbooks (which the State

Defendants purchased and supplied).



lot, I was that emergency responders were tending to him and loading him into the
ambulance. Sadly, he was not able to cast his vote this morning.” (Id. at 148).




                                          12
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 13 of 25




      C.     The August 11 Runoffs

      There is no evidence that Defendants have even acknowledged, much less

solved, any of the electronic pollbook problems that plagued the June 9 elections.

In the August 11, 2020 runoffs, even though turnout out was very low,

malfunctioning electronic pollbooks caused long waits for some voters as

pollworkers tried to check-in voters. Two witnesses describe the failures at the

Fanplex polling location on Henry Aaron Drive in Fulton County. At Fanplex, the

Pollpads initially would not recognize voters from Precinct 01F, even though

Precinct 01F had been assigned to Fanplex. “Every voter we observed from

precinct 01F was unable to check in.” (Whitley Declaration (Ex. 5) ¶ 13; see also

Stippich Decl. (Ex. 4) ¶ 6). The poll manager called county officials and were

overheard discussing how to “override” the PollPad system. Thereafter, the

PollPads apparently recognized that Precinct 01F voters were in the right polling

locations, but showed that each of them had received absentee ballots, which was

uniformly incorrect. After further delays, one voter left and the others filled out

provisional ballots. At 10:00, the poll manager announced that all Precinct 01F

voters would be checked in using the polling place’s June 9, 2020 registered

voters’ list and given emergency ballots. One observer found it “very problematic”

that the poll manager was using an out-of-date voters list to give voters emergency

ballots because “a list dated in early June would not account for newly registered



                                          13
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 14 of 25




voters or show whether a voter had already voted in early voting or mail ballot

voting.” (Whitley Decl. (Ex.5) ¶¶ 17-18, 20). Michael Stippich, who waited in

line for three hours at Fanplex to vote on June 9, had to wait in line for over an

hour on August 11, even though there were only a handful of voters trying to vote.

(Stippich Decl. (Ex. 4) ¶ 14). Other problems with the Pollpads during the August

11 election are addressed in Part D.

      D.     New Evidence of Electronic Pollpad Vulnerability

      Additional evidence obtained in the investigation of the August 11 election

confirms that the PollPads as deployed by the Defendants are extremely vulnerable

to malicious attack or innocent malfunction. First, the PollPads permit the

issuance of multiple encoding cards to a single voter. According to Cherokee

County Voting Systems Manager Johnathan Densmore: “the poll pads can issue an

unlimited number of voter access cards to same voter, with no override pass-code

or anything required from the Election Office.” (Exhibit C to Marks Declaration

(Ex. 1)).

      Second, the electronic pollbooks contain extremely important information,

obviously, controlling who can and who cannot vote in person. For this reason,

electronic pollbooks must be password protected and, for the June 9 election,




                                          14
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 15 of 25




electronic pollbooks in Georgia were password-protected.11 During the June 9

elections, Defendants had multiple problems with the PollPad passwords. So,

starting with the August 11 runoffs, KnowInk, the PollPad manufacturer, made the

determination that in Georgia passwords would no longer be required on PollPads

because they were a “’ redundant security measure.’”12 Therefore, any person who

has physical access to an electronic pollbook has the power to disenfranchise every

voter – or a selection of voters – on election day.

       Worse, as Harri Hursti explains in his Declaration (Exhibit 1), even

password-protected electronic pollbooks “present a compelling attack surface for

any domestic or foreign adversarial actor who considers disrupting or sowing

discord.” Id. ¶ 5 (b). “Measures like removing passwords, and therefore

weakening the security should never be a workaround for reliability issues.” Id. ¶

12. This security failure must be addressed regardless of the disposition of this

Motion, but, even if it is addressed, this lapse demonstrates how little Defendants




11
  KnowInk, the manufacturer of the electronic pollbooks, used the clever password “1 2 3 4” to
protect their Pollpads. (Doc. 680-1 at 50).
12
  Hurst Declaration (Ex. 1) at ¶ 10; Marks Declaration (Ex. 2) at ¶¶ 6-7; Patterson Declaration
(Ex. 3) at ¶ 21 (“The start up of the Pollpads does not require a password, which is concerning to
me given the important of the data in the Pollpads, and the user’s ability to impact which voters
are shown as eligible for voting.”




                                                15
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 16 of 25




can be trusted to deploy this complex equipment responsibly and how necessary it

is to have back-up systems in place in the event the equipment continues to fail.

       Mr. Hursti further confirmed the technical difficulties that pollworkers were

having in Fulton County using the PollPads on August 11, 2020, witnessing

numerous problems with synchronizing the units and, at Fanplex, incorrectly

showing that all voters had voted by mail. “These are prime examples,” Mr. Hursti

concludes, “of the need for an updated back up paper pollbook so that such

discrepancies can be handled in the polling place permitting voting to continue.”

Id. at 19.

       E.    Effective Relief Can be Granted Immediately

       The problem and the solution are well understood. The Court has previously

found that a backup to the PollPads is necessary to protect the right to vote: “If

voters’ capacity to cast votes are thwarted through an inaccurate express pollbook

voting check-in or voter website, this burdens their right to cast votes, scrambles

election day voting procedures, and ultimately, in turn affects voting results.”

(Doc. 579 at 89-90). The Defendants have never articulated a coherent reason for

not providing paper pollbook backups and their failure to do so led directly to the




                                          16
         Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 17 of 25




“Complete Meltdown”13 on June 9, 2020. There is no reason to believe that,

without these changes, the same problems will not plague the upcoming elections.

         Coalition Plaintiffs note that the State Election Board revised its regulations

on paper pollbook backups in February 2020 to make it clear that such backups

may be used in place of the electronic pollbooks:

         Electronic poll books shall be the primary method for checking in
         voters and creating voter access cards, but the superintendent shall
         cause every polling place to be equipped with a paper backup list that
         of every registered voter assigned to that polling place. The paper
         backup list shall be used in case the electronic poll books do not
         properly function. The superintendent shall cause poll workers to be
         adequately trained in checking in voters on both electronic poll books
         and paper backup list.

Ga. Comp. R. & Regs. 183-1-12-.19 (adopted February 12, 2020). The passage of

this regulations does not obviate the need for injunction relief, however, for three

reasons. First, though the regulation says to use the paper backup list “in case the

electronic poll books do not properly function,” the regulation does not explicitly

require that the paper pollbooks be updated after early voting. If the pollbook is not

current, pollworkers cannot reasonably issue ballots, other than provisional ballots.

Second, based on the eye-witness accounts of the June 9, 2020 election, there is no

evidence that this regulation is effective to cure the problems associated with



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     https://coaltionforgoodgovernance.sharefile.com/d-s8b9d3ca459e42638




                                               17
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 18 of 25




electronic pollbook malfunctions. Third, and closely related, the regulation does

not explicitly require the counties to give voters whose eligibility is established by

reference to the paper backup an emergency ballot, and instead could be read to

allow pollworkers to continue to undertake the time-consuming, frustrating and

potentially disenfranchising process of giving such voters provisional ballots.

Thus, the injunctive relief requested – which is not inconsistent with the new

Board rule – is necessary to prevent the long lines and disenfranchisement caused

by the present system.14

       To make compliance by the Defendants easier and most effective, and to

reduce the potential for the scope or purpose of the relief to be misunderstood,

Coalition Plaintiffs are seeking relief that is modified from the relief sought in the

October 23, 2019 Motion (Doc. 640-2 at 4-5) in two respects. First, since the

purpose of the relief is to allow election officials to adjudicate the eligibility of

voters on Election Day so that they may cast a ballot (and not have to complete a

provisional ballot), the amended proposed order makes this intent express by

adding the clause “to allow voters who are shown to be eligible electors on the




14
  In addition, compliance with an appropriate order is even easier now for the State Defendants
that it would have been with the old Diebold System. A stated feature of the KnowInk (PollPad)
system is its ability to print up-to-the minute pollbooks at the Secretary of State’s offices or at
central county offices. (Doc. 755 at 16).



                                                18
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 19 of 25




paper pollbook backups to cast an emergency ballot that is not to be treated as a

provisional ballot.”

       Second, through the course of collecting evidence on the new systems,

Coalition Plaintiffs have discovered that the training that the State currently offers

to pollworkers on the issuance of emergency ballots (including the source of

pollbook information) is not only insufficient but affirmatively misleads and

confuses pollworkers, and as a result will continue to disenfranchise voters.15 The

State must immediately clarify its instructions to pollworkers for issuing

emergency ballots before the September 29 special election, whether or not the

requested relief is granted. Hence, the amended proposed order adds a clause

stating: “to take every reasonable measure to ensure that county election officials

and pollworkers are trained as to how to generate and use paper pollbook backups

and emergency ballots in conformity with this Order.”16

       F.      State Defendants’ Response is Meritless




 See Doc. 755 at 76-79 (with links to SOS “Poll Worker Manual” and SOS Pollworker Training
15

Video). The cited declaration also describes the mistakes in the training instructions.
16
  In their August 2, 2020 Response Brief, the State Defendants’ quibble with this aspect of the
Motion, stating that the Secretary is not “responsible for training poll workers.” (Doc. 757 at 3).
But the Secretary in April published the “Poll Worker Training Manual” and the “Poll Worker
Training Video” (referenced in the preceding footnote), that purport to train poll workers on
exactly this topic: what to do when the Pollpads malfunction.



                                                19
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 20 of 25




       In response to the Coalition Plaintiffs’ August 2, 2020 Notice of Filing (Doc.

755) and Motion (Doc. 756) relating to Immediate Injunctive Relief on Paper

Pollbook Backups, the State Defendants’ filed a Response (Doc. 757). The State

Defendants’ Response confirms that injunctive relief can and should be granted.

       Initially, the State Defendants do not explain why, as a practical or legal

matter, this commonsense relief (of providing each polling place with an updated

paper back-up copy of the pollbook) should not be granted, and they never have:

they did not explain why in their one-page response to Plaintiffs’ Motion for

Preliminary Injunction (Doc. 658 at 54); nor in open court in response to the

Court’s questions (Doc. 679, Tr. at 71); nor in their Response Brief. (Doc. 757).

The State Defendants do not dispute—and thus concede—that the lack of paper

pollbook backups materially contributed to the “Complete Meltdown” that the

Defendants oversaw on June 9, 2020. Instead of responding on these core issues,

the State Defendants raise several meritless arguments:

                      Motion should be considered only after “normal discovery
                      track”

       The State Defendants argue that “this case should proceed on a normal

discovery track instead of on an emergency basis.” (Doc. 757 at 1).17 Yet the


17
  The Coalition Plaintiffs in this Motion are not seeking expedited discovery and, even if they
were, this Court rejected the premise of the State Defendants’ argument in its August 11, 2020
Order (Doc. 775 at 1-2): “Defendants’ wholesale objection to expedited discovery in its
Response brief (Doc. 772) and arguments that there is ‘no emergency’ and ‘no need for



                                               20
       Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 21 of 25




issue before the Court concerns a Motion for a Preliminary Injunction. (Doc. 640).

If the need for a “normal discovery track” were sufficient to defeat a motion for

preliminary injunction, then no preliminary injunction would ever be granted. But

that is not the law. “[A] preliminary injunction is customarily granted on the basis

of procedures that are less formal and evidence that is less complete than in a trial

on the merits.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981).

       Similarly, the State Defendants argue that this relief should not be

considered on an “emergency basis.” (Doc. 757 at 1). There is nothing rushed

about the consideration of this relief. It has been a continual subject of Coalition

Plaintiffs’ motions since at least June, 2019 (Docs. 419, 605, 640), and this Court’s

Orders and conferences since August, 2019 (Docs. 579, 679 at Tr. 69-72).

       For months, the State Defendants have had the opportunity to muster

evidence (all of which is within their own possession or control) disputing the

factual basis of Coalition Plaintiffs’ claim. But they have come up with nothing

and instead insist upon a “normal discovery track” for the transparent purpose of

running out the clock on any possibility for timely relief.




expedited discovery’ because there is ‘no pending preliminary injunction’ ignore this Court’s
assessment of the case posture and directives communicated to counsel.”




                                               21
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 22 of 25




                    Reliance on Hearsay and Policy Statements

      The State Defendants complain that the Coalition Plaintiffs’ Motion relies

on hearsay. (Doc. 757 at 1). That is not a valid objection to evidence filed in

support of a motion for preliminary injunction. Levi Strauss & Co. v. Sunrise Int’l

Trading, Inc., 51 F.3d 982, 985 (11th Cir. 1995) (at the “preliminary injunction

stage, a district court may rely on affidavits and hearsay materials which would not

be admissible evidence for a permanent injunction”). The State Defendants also

criticize the Coalition Plaintiffs for filing policy statements that the Coalition

submitted to the State Election Board as “personal opinions.” (Doc. 757 at 2).

The submissions to the State Election Board speak for themselves: they do not

contain “personal opinions,” but instead are fact-based, well-reasoned submissions

showing how the Coalition Plaintiffs have scrupulously followed this Court’s

directives to make every effort to resolve this issue outside of litigation, including

by (fruitlessly) petitioning the State Election Board for relief.

                    It is “too late to make these changes.” (Doc. 757 at 3).

      The State Defendants do not support this conclusory statement with any

citation to the record or with any analysis or evidence. The reason why is because

the requested relief is trivially easy for the State to implement: printing a paper

backup of the electronic pollbooks in each polling place involves minimal skill,

time and cost. The ease and simplicity of the requested relief are why paper




                                           22
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 23 of 25




pollbook backups are not just considered a best practice, but a necessary procedure

by the National Academy of Sciences (see Doc. 579 at 148 n. 101) and by the

Brennan Center for Justice (see Doc. 755 at 112).

                                       Conclusion

      The Defendants’ collective unwillingness to attend to this issue contributed

directly and significantly to the “Complete Meltdown” for which Defendants were,

collectively, responsible. Unless this injunctive relief is granted, there is a virtual

certainty that it will happen again.

      Respectfully submitted this 21th day of August, 2020.

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                                           23
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 24 of 25




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

                                            /s/ Bruce P. Brown
                                            Bruce P. Brown




                                       24
      Case 1:17-cv-02989-AT Document 800-1 Filed 08/21/20 Page 25 of 25




               IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,
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BRAD RAFFENSPERGER , ET AL.,
Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on August 21, 2020, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                               /s/ Bruce P. Brown
                                               Bruce P. Brown




                                          25
